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                  5 Attorneys for Defendant
                    The Walt Disney Company
                  6
                  7
                  8                          UNITED STATES DISTRICT COURT
                  9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                 10
                 11 David A. Fisher,                         CASE NO. 2:21-cv-05839-CBM (KSx)
                 12             Plaintiff,                   Honorable Consuelo B. Marshall
                 13       v.                                 DECLARATION OF ELAINE K.
                                                             KIM IN SUPPORT OF REQUEST
                 14 Angela Nissel, E. Brian Dobbins,         OF DEFENDANT THE WALT
                    Kenya Barris, ABC Studios, The Walt      DISNEY COMPANY FOR
                 15 Disney Company, a Delaware               JUDICIAL NOTICE IN SUPPORT
                    Corporation, and Parent company of       OF MOTION TO DISMISS
                 16 Walt Disney, Walt Disney Television      PLAINTIFF’S COMPLAINT IN
                    and ABC Television Network, Inc;         ITS ENTIRETY WITHOUT
                 17 Does 1 thru 25, Inclusive,               LEAVE TO AMEND PURSUANT
                                                             TO FEDERAL RULE OF CIVIL
                 18             Defendants.                  PROCEDURE 12(B)(6) AND 28
                                                             U.S.C. § 1915(E)(2)(B)
                 19
                 20                                          [Notice of Motion and Motion; Request
                                                             for Judicial Notice and Exhibits;
                 21                                          Declaration of Celeste de los Santos;
                                                             Notice of Lodging and Exhibits; and
                 22                                          [Proposed] Order Filed Concurrently
                                                             Herewith]
                 23
                                                             Date:      October 5, 2021
                 24                                          Time:      10:00 a.m.
                                                             Courtroom: 8B
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
13363271.1/50452-00002
                            DECLARATION OF ELAINE K. KIM IN SUPPORT OF DEFENDANT TWDC’S RJN
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                  1                       DECLARATION OF ELAINE K. KIM
                  2         I, Elaine K. Kim, declare:
                  3         1.    I am an attorney at law licensed to practice before the Courts of the
                  4 State of California and this Court. I am a partner through my professional
                  5 corporation in the law firm of Mitchell Silberberg & Knupp LLP (“MSK”),
                  6 attorneys of record for Defendant The Walt Disney Company (“TWDC”). I make
                  7 this Declaration in support of TWDC’s Request for Judicial Notice (“RJN”), filed
                  8 in support of TWDC’s Motion to Dismiss Plaintiff’s Complaint in Its Entirety
                  9 Without Leave to Amend Pursuant to Federal Rule of Civil Procedure 12(b)(6) and
                 10 28 U.S.C. § 1915(e)(2)(B). I have personal knowledge of the following facts and,
                 11 if called and sworn as a witness, could and would competently testify thereto.
                 12         2.    On July 23, 2021, I conducted searches of the U.S. Copyright Office
                 13 Public Catalog online, available at the Internet location https://cocatalog.loc.gov,
                 14 for copyright registrations granted to Plaintiff David A. Fisher. Based on these
                 15 searches, I confirmed that the Copyright Office has granted a registration to
                 16 Plaintiff for “MIXED” Episode 1, but has not granted a registration to Plaintiff for
                 17 “MIXED” Episodes 2 through 5.
                 18         3.    Attached as Exhibit A to the RJN is a true and correct copy of my
                 19 printouts from the Copyright Office’s Public Records Catalog online showing the
                 20 results of a search query for Registration number PA0002265745, that I conducted
                 21 on July 23, 2021. This is the only registration number alleged in the Complaint.
                 22 These records establish that Registration number PA0002265745 is only for
                 23 “Mixed – Episode 1.” As shown in Exhibit A, the Name associated with this
                 24 registration is “Fisher, David A., Jr., 1981-.”
                 25         4.    Attached as Exhibit B to the RJN is a true and correct copy of my
                 26 printouts from the Copyright Office’s Public Records Catalog online showing the
                 27 results of a search query for “Fisher, David A., Jr., 1981-,” which I conducted on
    Mitchell     28
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   Knupp LLP
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                  1 July 23, 2021. These records show that there is only “1” title associated with that
                  2 Name, which is Registration number PA0002265745 for “Mixed – Episode 1.”
                  3         5.    Attached as Exhibit C to the RJN is a true and correct copy of my
                  4 printouts from the Copyright Office’s Public Records Catalog online showing the
                  5 results of a search query for any and all records of copyright registrations with the
                  6 Name, “fisher david a.,” which I conducted on July 23, 2021. These records show
                  7 that the only registration is Registration number PA0002265745 for “Mixed –
                  8 Episode 1.”
                  9         6.    Attached as Exhibit D to the RJN is a true and correct copy of my
                 10 printouts from the Copyright Office’s Public Records Catalog online showing the
                 11 results of a search query for any and all records of copyright registrations for
                 12 which “fisher” and “david” appear anywhere in the Name, and “mixed” appears
                 13 anywhere in the Title. I conducted this search query on July 23, 2021. These
                 14 records show that the only registration is Registration number PA0002265745 for
                 15 “Mixed – Episode 1.”
                 16         7.    Attached as Exhibit E to the RJN is a true and correct copy of
                 17 certified records of the Copyright Office of its correspondence with Plaintiff
                 18 pertaining to “MIXED.” My office received these records from the Copyright
                 19 Office on or about July 21, 2021. The correspondence reflects that the Copyright
                 20 Office registered only Episode 1 of “MIXED” and removed reference to the other
                 21 episodes. These records make clear that Registration number PA0002265745
                 22 covered only “Mixed – Episode 1,” and not Episodes 2 through 5.
                 23         8.    Being manually lodged with the Court as Exhibit F to the RJN is a
                 24 true and correct copy of a flash drive received from the Copyright Office
                 25 containing the deposit copy for Registration number PA0002265745. My office
                 26 received these records from the Copyright Office on or about July 21, 2021.
                 27 Exhibit F contains “Mixed – Episode 1,” a video that is approximately 6 minutes
    Mitchell     28 long and a short synopsis. Exhibit F does not contain any episodes except for
  Silberberg &
   Knupp LLP
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                  1 “Mixed – Episode 1.” Exhibit F further confirms that Registration number
                  2 PA0002265745 does not cover Episodes 2 through 5 of “MIXED.”
                  3        9.     Attached as Exhibit G to the RJN is a true and correct copy of the
                  4 Copyright Office’s certification of the deposit copy for Registration number
                  5 PA0002265745.
                  6        10.    On August 16, 2021, I sent Plaintiff, David A. Fisher, an email in
                  7 which I described in detail the substance of TWDC’s Motion to Dismiss and asked
                  8 him to let me know when he had time in the next few days to speak on the phone.
                  9 Having received no response to my email, on August 18, 2021, I called Mr. Fisher
                 10 at the phone number listed on his Complaint. Mr. Fisher did not answer, so I left a
                 11 voicemail identifying myself and stating that I was calling to confer with him about
                 12 TWDC’s Motion to Dismiss. I followed up on August 18 by sending Mr. Fisher
                 13 another email. Mr. Fisher responded on August 20 and suggested a time to speak
                 14 on August 23. I discussed the Motion to Dismiss with Mr. Fisher on the phone on
                 15 August 23.
                 16
                 17        I declare under penalty of perjury under the laws of the United States of
                 18 America that the foregoing is true and correct.
                 19        Executed this 26th of August, 2021 at Los Angeles, California.
                 20
                                                           /s/ Elaine K. Kim
                 21
                                                           Elaine K. Kim
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    Mitchell     28
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   Knupp LLP
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